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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


    BELLA HEALTH AND WELLNESS
    et al.,                                       Case No. 1:23-cv-939-DDD-SKC

       Plaintiffs,

       v.

    PHIL WEISER, in his official capacity as
    Attorney General of Colorado, et al.,

       Defendants.




    PLAINTIFFS’ RESPONSE TO MOTIONS TO DISMISS OF DEFENDANTS
          PHIL WEISER, BETH MCCANN, AND JOHN KELLNER


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                                    INTRODUCTION

      In three separate motions to dismiss, Defendants make little attempt to defend

   SB 23-190 on the merits. Instead, they try to pass the enforcement buck. District

   Attorneys McCann and Kellner say that enforcing SB 23-190—Section 2 in particu-

   lar—is the job of the Attorney General, so they should be dismissed from the case. AG

   Weiser, in turn, says Plaintiffs cannot challenge Section 2—not because he has disa-

   vowed enforcement, but because Plaintiffs view their own conduct as honest—and

   enforcing Section 3 is the job of the Boards, so he is immune from suit.

      None of these efforts succeed in depriving this Court of Article III jurisdiction.

   Neither the AG nor the DAs has offered a binding and permanent disavowal of en-

   forcement that would suffice to bar Plaintiffs at the courthouse door. The few merits

   responses the AG offers are wrong about what Plaintiffs allege and what the Free

   Speech and Due Process Clauses require. And his immunity claim ignores the plain

   language of his statutory enforcement duty—that he “shall prosecute” charges re-

   ferred to him by the Boards. Because Plaintiffs have standing to challenge SB 23-190

   and have plausibly stated claims for relief, the motions to dismiss should be denied.

                                     BACKGROUND

      Plaintiff Bella Health and Wellness. Bella is a nonprofit, faith-based medical

   clinic that offers life-affirming, dignified health care. Compl., Dkt.1 ¶¶22, 33. Bella

   offers obstetrics-gynecology care as well as family medicine, pediatrics, and func-

   tional medicine. Id. ¶¶33-34.



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      Bella commits “to provide comprehensive, life-affirming health care” and “to of-

   fer[] you medical solutions that respect your dignity, preserve your integrity, and

   work in cooperation with your body.” Id. ¶46. Thus, Bella “do[es] not offer contracep-

   tion, sterilizations, or abortions.” Id. Bella’s website describes it as a “comprehensive,

   life-affirming OB-GYN practice.” Compl.Ex.C at 3. It separately describes Bella as

   offering both a “full continuum of care” and “comprehensive health care at every stage

   of life.” Compl.Ex.C at 5; see Compl.Ex.D at 13 (“We are a life-affirming, full-service

   Family Medicine and OB-GYN medical center.”).

      Bella and its providers are devoted to honoring the dignity of the women they

   serve and their unborn children. Compl. ¶47. Consistent with their religious beliefs,

   Bella and its providers are religiously obligated to offer abortion pill reversal (APR).

   Id. ¶98. Bella has treated dozens of APR patients who successfully maintained their

   pregnancies. Id. ¶103. Bella’s website affirms its commitment to “save mothers and

   babies through sound medical counseling and [APR].” Id. ¶110; see Chism Supp.

   Decl., Dkt.34. Bella also publicizes the availability of APR on its social media ac-

   counts. Dkt.34.

      Colorado Medical and Nursing Licensing Regimes. As “regulators” of their

   respective professions, the Colorado Medical Board and the State Board of Nursing

   “may investigate, hold hearings, and gather evidence in all matters related to the

   exercise and performance of [their] powers and duties.” C.R.S. §12-20-403(1). Each

   Board may discipline licensees who engage in “conduct that constitutes grounds for



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   discipline or unprofessional conduct.” Id. §12-20-404(1). If a Medical Board investiga-

   tion “discloses facts that warrant further proceedings by formal complaint,” the com-

   plaint “shall be referred” to the AG, who then “shall prosecute those charges.” Id. §12-

   240-125(4)(c)(V), (5)(d); see also id. §12-255-119(3)(c)(V), (4)(d) (AG “shall prosecute”

   complaints referred by Nursing Board).

      Colorado Consumer Protection Act. The CCPA makes it a “deceptive trade

   practice” to “knowingly or recklessly make[] a false representation as to the charac-

   teristics, … uses, [or] benefits … [of] services,” id. §6-1-105(1), (1)(e), or to “knowingly

   or recklessly engage[] in any unfair, unconscionable, deceptive, deliberately mislead-

   ing, false, or fraudulent act or practice,” id. §6-1-105(1)(rrr). The AG and DAs are

   “concurrently responsible” for CCPA enforcement. Id. §6-1-103. Private parties who

   are “actual or potential consumer[s]” and are injured by a deceptive practice can also

   sue. Id. §6-1-113(1)(a).

      SB 23-190. On April 14, 2023, Governor Jared Polis signed into law SB 23-190.

   Section 1 declares, among other things, that “anti-abortion centers” are the “ground-

   level presence of a well-coordinated anti-choice movement” and engage in “deceptive

   advertising tactics to target and acquire clients.” §1(1)(d)-(e). It specifically accuses

   “anti-abortion centers” of “go[ing] so far as to advertise medication abortion reversal,

   a dangerous and deceptive practice that is not supported by science or clinical stand-




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  ards.” §1(1)(f). Section 1’s final subsection states that the CCPA’s prohibition on de-

  ceptive trade practices “applies to … advertising for or providing or offering to pro-

  vide or make available medication abortion reversal.” §1(3).

     Section 2 provides that it is a “deceptive trade practice” to “make[] or dissemi-

  nate[]” any advertisement that “indicates that the person provides abortions or emer-

  gency contraceptives, or referrals for abortions or emergency contraceptives, when

  the person knows or reasonably should have known … that the person does not pro-

  vide those specific services.” §2(2).

     Section 3 bans APR, making it “unprofessional conduct” for a licensee to “pro-

  vide[], prescribe[], administer[], or attempt[] medication abortion reversal.” §3(2).

  The ban can only be undone if the Medical, Nursing, and Pharmacy Boards, “in con-

  sultation with each other,” by October 1, 2023, adopt “rules finding that it is a gener-

  ally accepted standard of practice to engage in medication abortion reversal.” §3(2).

     Legislative Record. SB 23-190’s debate shows the law is specifically designed to

  target religious organizations that offer abortion alternatives, including APR. Compl.

  ¶¶151-53. The bill’s sponsors stated that SB 23-190 will “crack down” on “anti-abor-

  tion centers,” Compl.Ex.G at 5, 7, which were described as “ideologically-driven” and

  “fake clinics,” Compl. ¶¶153-54, 156.

     The bill’s sponsors explained that SB 23-190 would “prohibit” APR advertising

  and “define it as a deceptive trade practice.” Compl.Ex.H at 1 (Marchman); see also




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  Senate   Judiciary    Hearing,    Mar.   15,   2023,   at   5:56:15-5:56:24,   https://ti-

  nyurl.com/5ub4xpzu (Winter) (“Nor can they tell their patients that information and

  assistance is available to reverse a medication without misleading them.”). They also

  identified the terms “comprehensive” and “full range” of services (or similar terms)

  as deceptive advertising when used by a pro-life provider:

     •   “[A]nti-abortion center[s]” are “faith-based organizations that pose as a com-
         prehensive reproductive healthcare clinic.” Compl.Ex.H at 1 (March-
         man).

     •   “[M]any anti-abortion centers are purposefully misleading about offering
         unbiased, medically-based … comprehensive healthcare. … [A]nti-abor-
         tion clinics should not act as though they offer a full range of reproductive
         healthcare when they are using deceptive untruthful practices to lure pa-
         tients in.” Compl.Ex.H at 4 (Winter).

     •   “Comprehensive reproductive care includes the following[:] access to con-
         traception, emergency [c]ontraception … [and] abortion or referral for
         abortion[.]” Compl.Ex.K at 1 (McCormick); see Compl.Ex.J at 1 (McCormick)
         (similar).

     Procedural History. Hours after SB 23-190’s signing, Plaintiffs sued and moved

  for emergency relief. Dkt.7. This Court entered a TRO that night. Dkt.8. After a hear-

  ing, the Court declined to enter a preliminary injunction given the State’s assurances

  of non-enforcement pending the rulemaking process. Dkt.48.

                                   LEGAL STANDARD

     When considering standing at the motion to dismiss stage, the Court “must accept

  as true all material allegations of the complaint,” “must construe the complaint in

  favor of the complaining party,” and “must construe the statements made in the affi-

  davits in the light most favorable to the [plaintiff].” S. Utah Wilderness All. v. Palma,



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  707 F.3d 1143, 1152 (10th Cir. 2013). 1 “[T]o survive a 12(b)(6) motion to dismiss, a

  plaintiff must state a plausible claim for relief on the face of a well-pleaded com-

  plaint.” Audubon of Kan., Inc. v. U.S. Dep’t of Interior, 67 F.4th 1093, 1108 (10th Cir.

  2023).

                                             ARGUMENT

      The motions to dismiss should be denied because Plaintiffs’ well-pleaded com-

  plaint establishes a live controversy over SB 23-190’s many constitutional infirmities.

  Plaintiffs begin with standing. 2

      Article III standing requires (1) an injury in fact, (2) causation, and (3) redressa-

  bility. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157-58 (2014). In a First

  Amendment pre-enforcement challenge, a plaintiff shows an injury in fact when she

  alleges (1) “an intention to engage in a course of conduct arguably affected with a

  constitutional interest” that is (2) “arguably proscribed” by the challenged statute and

  (3) there exists a “credible threat of enforcement.” Id. at 159-62 (cleaned up).

  I. Plaintiffs have standing to challenge Section 1 and have stated a
     plausible claim for relief.

      Section 1 states that the “prohibition on deceptive trade practices [in the CCPA]

  applies to … advertising for … or offering to provide or make available medication

  abortion reversal.” §1(3)(b). This provision plainly reads like the myriad substantive


  1   The AG does not dispute any factual allegations in the verified complaint and so they are presumed
  true. Cf. AG.MTD.7n.2.
  2   The AG’s motion proceeds by statutory section, not by “each claim for relief.” DDD.Civ.P.S.III.D(a).
  Plaintiffs follow the same structure for efficiency.



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  provisions that “create, eliminate or modify vested rights or liabilities.” People v.

  D.K.B., 843 P.2d 1326, 1331 (Colo. 1993). It evinces an “intention to bind … regulated

  parties,” subjecting those who publicize APR to CCPA enforcement actions and lia-

  bility. Kennecott Utah Copper Corp. v. U.S. Dep’t of Interior, 88 F.3d 1191, 1222-23

  (D.C. Cir. 1996). SB 23-190’s sponsors so understood Section 1, stating that it would

  “prohibit advertising for [APR] and define it as a deceptive trade practice[.]” Supra

  pp.4-5. Section 1(3)(b) thus not only “arguably proscribe[s]” Bella’s APR publications;

  it actually proscribes it. See 303 Creative LLC v. Elenis, 6 F.4th 1160, 1172-73 (10th

  Cir. 2021), rev’d on other grounds, 143 S.Ct.__ (2023). Bella therefore has standing

  and has stated a plausible claim for relief.

     The AG’s only argument is that because the legislature enacted this prohibition

  in a section labeled “legislative declaration,” Plaintiffs face no credible threat of en-

  forcement or have not stated a claim for relief. AG.MTD.3-4. But Colorado courts

  “have construed legislative declaration … statements” as imposing substantive re-

  quirements, and legislators are warned to “be very cautious about including state-

  ments that could be viewed as creating a substantive right or a promise that the state

  will do something.” Colo. Off. of Legis. Legal Servs., Colorado Legislative Drafting

  Manual §2.7.3 (2023); see also Kennecott, 88 F.3d at 1222-23 (“preamble” to regulation

  may have “independent legal effect”). Just as the federal government may not negate

  the effects of a substantive law by labeling it mere interpretation, see, e.g., Mendoza

  v. Perez, 754 F.3d 1002, 1021-23 (D.C. Cir. 2014), Colorado may not extricate itself



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  from clear and unambiguous substantive language by invoking the “legislative decla-

  ration” label.

     The AG cites Webster v. Reproductive Health Services, where the Court noted that

  the preambular statement “[t]he life of each human begins at conception” carried no

  legal effect. 492 U.S. 490, 501, 506 (1989). But that statement “d[id] not by its terms”

  regulate anything and “impose[d] no substantive restrictions.” Id. at 505-06. Section

  1(3)(b)’s clear prohibition bears no resemblance to Webster’s factual finding. Webster

  thus provides no aid to the AG, let alone a reason to grant his motion to dismiss.

  II. Plaintiffs have standing to challenge Section 2 and have stated a
      plausible claim for relief.

     A. There is a credible threat that Section 2 will be enforced against
        Plaintiffs.

     The AG argues that Bella lacks pre-enforcement standing because Section 2 “does

  not proscribe Plaintiffs’ desired conduct” and there is no credible threat of enforce-

  ment. AG.MTD.6-8. He is wrong on both.

     Arguably proscribed. Section 2 “at least arguably proscribe[s]” Bella’s speech

  about its services. 303 Creative, 6 F.4th at 1172-73 (cleaned up). Bella’s website de-

  scribes it as a “comprehensive, life-affirming OB-GYN practice” and as offering a “full

  continuum of care” and “comprehensive health care.” Supra p.2. Bella uses the exact

  terms the bill’s sponsors—the AG coyly describes them as “certain legislator[s],”

  AG.MTD.8—denounced as deceptive when used by pro-life providers. Supra pp.4-5;




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  Tr.101:21-22, Dkt.51 (Court noting “significant evidence” that “at least some mem-

  bers of the legislature” viewed statements like Bella’s as “misleading”).

      The AG nonetheless insists that Section 2 “does not proscribe” Plaintiffs’ speech

  because “in [Plaintiffs’] opinion, there is no question that they are complying with the

  CCPA.” AG.MTD.6-7. That misstates the law and the facts. Legally, the question is

  what speech is “arguably proscribed” by Section 2. Driehaus, 573 U.S. at 162; see also

  303 Creative, 6 F.4th at 1172 (conscience objections were “at least arguably pro-

  scribed” by Colorado Anti-Discrimination Law) (cleaned up). 3 Factually, Plaintiff

  Dede Chism testified that Bella describes itself as providing “comprehensive” health

  care because it “car[es] for … body, mind, and soul” and offers a “full scope of care for

  women’s health.” Tr.35:17-25. She further testified that she “fe[lt] very, very at-

  tacked” by the legislative debate over SB 23-190, like “they were singling us out” and

  the “words that they were coming after … they were coming after me.” Tr.36:5-19.

  The AG offers no authority—because there is none—for the proposition that Plain-

  tiffs’ “opinion” somehow automatically thwarts public or private CCPA claims against

  them. AG.MTD.7.




  3   The AG repeats this error in claiming there is no credible threat because Plaintiffs “do not allege
  they violate Section 2 or have any intention of doing so.” AG.MTD.7; see MedImmune, Inc. v. Genen-
  tech, Inc., 549 U.S. 118, 128-29 (2007) (“we do not require a plaintiff to expose himself to liability before
  bringing suit”).



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     Credible threat. Bella has also shown a “credible threat” of enforcement.

  Driehaus, 573 U.S. at 167. This prong “is not supposed to be a difficult bar for plain-

  tiffs to clear in the First Amendment pre-enforcement context.” Peck v. McCann, 43

  F.4th 1116, 1133 (10th Cir. 2022). The Tenth Circuit considers three factors:

  “(1) whether the plaintiff showed past enforcement against the same conduct;

  (2) whether authority to initiate charges was not limited to a prosecutor or an agency

  and instead, any person could file a complaint against the plaintiffs; and (3) whether

  the state disavowed future enforcement.” Id. at 1132 (cleaned up).

     There is no past enforcement of SB 23-190—because the law is brand new and

  was immediately enjoined. Nor is it surprising that the prior version of the CCPA was

  not wielded against similar conduct. As the AG tacitly admits, the purpose of Sec-

  tion 2 was to target pro-life providers by “clarif[ying]” what constitutes a deceptive

  practice for speakers who do not provide abortions. AG.MTD.6-7. And in any event,

  “[t]he fact that a prosecutor ha[s] never enforced the statute … is not dispositive.”

  Scott v. Hiller, No.21-cv-2011, 2022 WL 4726038, at *6 (D. Colo. Oct. 3, 2022); see

  Peck, 43 F.4th at 1133 (collecting cases); Vitagliano v. County of Westchester,

  __F.4th__, 2023 WL 4095164, at *7 (2d Cir. 2023) (same).

     The remaining two credible-threat factors weigh decisively in favor of Plaintiffs.

  First, CCPA enforcement is “not limited to a prosecutor or an agency.” Peck, 43 F.4th




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  at 1132. Instead, “any person” who is an “actual or potential consumer” and is alleg-

  edly injured may sue, C.R.S. §6-1-113(1)(a), which “bolster[s]” the “credibility of th[e]

  threat,” Driehaus, 573 U.S. at 164.

     Second, the AG has repeatedly refused to “disavow[] future enforcement” of Sec-

  tion 2. Peck, 43 F.4th at 1132; see Tr.67:18-22 (Q: “And you have not disavowed en-

  forcement of Section 2, have you?” A: “Uh, no, we enforce the law.”). To be sure, he

  “disavow[s] enforcement” for one of Bella’s statements—“comprehensive, life-affirm-

  ing health care”—“standing alone.” AG.MTD.8. But Bella also uses the terms “com-

  prehensive,” “full continuum of care,” and “full-service” elsewhere on its website, su-

  pra p.2—and the AG has repeatedly refused to disavow enforcement for Bella’s ad-

  vertising in toto, see, e.g., Tr.68:21-69:1 (Q: “And you can’t tell me whether you think

  it’s misleading or deceptive to say that you provide comprehensive ob-gyn services

  without providing abortion? You don’t have an opinion?” A: “I can’t say, like, hypo-

  thetically how I would address – how that would be enforced.”). The AG’s disavowal

  as to one statement “standing alone,” AG.MTD.8, leaves Bella exposed to prosecution

  for all others—including the actual statements for which the AG refused to disavow

  enforcement.

     Furthermore, “[s]tanding is determined as of the time the action is brought.”

  WildEarth Guardians v. Pub. Serv. of Colo., 690 F.3d 1174, 1182 (10th Cir. 2012). So

  the AG’s real argument is that Plaintiffs’ Section 2 claims are now moot based on his

  partial voluntary cessation. But the AG has not carried the “formidable burden of



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  showing that it is absolutely clear the allegedly wrongful behavior could not reason-

  ably be expected to recur.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). A disa-

  vowal that defeats justiciability is one that takes the “unequivocal position” that a

  law “cannot be constitutionally enforced” and Plaintiffs “would not be prosecuted un-

  der the statute now or in the future.” Mink v. Suthers, 482 F.3d 1244, 1255-57 (10th

  Cir. 2007). The AG has provided nothing of the sort. If anything, his “staunch refusal

  to disavow prosecution” of Section 2—including as to Bella’s actual speech in its ac-

  tual context—weighs “heav[ily]” in favor of a credible-threat finding. Peck, 43 F.4th

  at 1133.

     The AG urges the Court to ignore statements by SB 23-190’s sponsors because

  “legislators do not make enforcement decisions.” AG.MTD.8. But the AG routinely

  relies on testimony of bill sponsors in litigating the meaning of state statutes. See,

  e.g., State’s Br., Colo. Prop. Tax Adm’r v. CO2 Comm., Inc., 527 P.3d 371 (Colo. 2023),

  2022 WL 19520798, at *29; State ex rel. Weiser v. Ctr. for Excellence in Higher Educ.,

  Inc., 499 P.3d 1081, 1092 (Colo. Ct. App. 2021). Plaintiffs have every reason to expect

  the AG, private plaintiffs, and courts to do the same here.

     Because Plaintiffs’ speech is “arguably proscribed” and the threat of future en-

  forcement is “far from imaginary or speculative,” Driehaus, 573 U.S. at 162, 165

  (cleaned up), Plaintiffs have standing to challenge Section 2.




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     B. Plaintiffs have plausibly alleged that Section 2 violates the First
        Amendment.

     Pleading. The AG argues that Plaintiffs do not bring a First Amendment chal-

  lenge to Section 2. AG.MTD.9-10. He is wrong. Notably, no other Defendant reads the

  complaint this way. Cf. McCann.MTD.1-4 (recognizing Section 2 challenge in “First

  Amendment context”); Kellner.MTD.1-4 (same).

     Count III is a Free Speech Clause challenge to SB 23-190 in toto—including Sec-

  tion 2. It alleges that, by “targeting its speech restrictions at ‘anti-abortion centers,’”

  “SB 23-190” is “content and viewpoint based.” Compl. ¶¶212-13. It also alleges—sep-

  arate from the paragraphs addressing APR, id. ¶¶215-16—that “Colorado has no

  compelling interest in targeting the speech of life-affirming OB-GYN medical provid-

  ers,” id. ¶214. Count III also incorporates all preceding allegations—including the

  operative provisions of Section 2, id. ¶146, and legislative history showing targeting

  of “anti-abortion centers,” id. ¶¶151-53, 155-56, 159-61; see Fed.R.Civ.P.10(c). And

  Plaintiffs seek declaratory and injunctive relief from “SB 23-190”—not just the APR

  provisions—because it “discriminat[es] against Plaintiffs based on the content and

  viewpoint of their speech.” Compl. ¶¶b, g. That certainly provides “fair notice of what

  the claim is and the grounds upon which it rests.” Ullery v. Bradley, 949 F.3d 1282,

  1288 (10th Cir. 2020).




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     Merits. Plaintiffs have plausibly alleged that Section 2 violates the Free Speech

  Clause because it discriminates based on content and viewpoint. The AG ignores con-

  tent discrimination, addressing only viewpoint. AG.MTD.10-13. And his viewpoint

  arguments are baseless.

     “Both content- and viewpoint-based speech restrictions are presumptively inva-

  lid.” Pahls v. Thomas, 718 F.3d 1210, 1229 (10th Cir. 2013). A law is content based if

  it “on its face draws distinctions based on the message a speaker conveys” or if it

  “cannot be justified without reference to the content of the regulated speech, or [was]

  adopted by the government because of disagreement with the message the speech

  conveys.” Reed v. Town of Gilbert, 576 U.S. 155, 163-64 (2015) (cleaned up). A law is

  viewpoint based if it “targets not subject matter, but particular views taken by speak-

  ers on a subject.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829

  (1995).

     The AG contends that Section 2 is constitutional because it regulates “[f]raudulent

  speech.” AG.MTD.11. But even within a category of “proscribable speech,” the First

  Amendment imposes “a ‘content discrimination’ limitation,” barring regulation

  “based on hostility—or favoritism—towards the underlying message expressed.”

  R.A.V. v. City of St. Paul, 505 U.S. 377, 386-87 (1992). Section 2 is facially content

  based because it applies only to speech about certain topics—advertisements falsely

  indicating the speaker provides or refers “for abortions or emergency contraceptives.”

  §2(2). The law does not cover advertisements falsely indicating the speaker provides



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  other treatments, pregnancy-related or otherwise. And “[t]he First Amendment does

  not permit [Colorado] to impose special prohibitions on those speakers who express

  views on disfavored subjects.” R.A.V., 505 U.S. at 391.

     Even if Section 2 were facially content neutral, it is nonetheless content based

  because Colorado enacted it out of disagreement with the message of “anti-abortion

  centers,” which do not provide or refer for abortion or emergency contraceptives.

  §1(1)(c)-(e). SB 23-190 claims “anti-abortion centers use deceptive advertising tac-

  tics,” id., and its sponsors decried them as “fake clinics,” accusing them of “sham[ing]”

  women and spreading “disinformation,” Compl. ¶¶152-54. Because Section 2 was en-

  acted due to “disagreement with the message” of “anti-abortion centers,” it is content

  based. Reed, 576 U.S. at 164.

     Beyond content discrimination, Section 2 also discriminates among viewpoints,

  explicitly targeting “[a]nti-abortion centers” for their role in the “anti-choice move-

  ment.” §1(1)(d). Section 2 applies only to speakers who do not provide abortion or

  emergency contraceptives; speakers who do are immune. Because Section 2 regulates

  “speech on only one side of the abortion debate,” it is “a clear form of viewpoint dis-

  crimination.” McCullen v. Coakley, 573 U.S. 464, 485 (2014).

     The AG claims Section 2 is simply addressed to “specific wrongful acts”—akin to

  false representations about radon mitigation—that the legislature believes are “par-

  ticularly prevalent or harmful.” AG.MTD.12. According to the AG, abortion and emer-




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  gency contraceptives are “time-sensitive” medical treatments “such that truthful ad-

  vertising is critical for patients.” AG.MTD.13. But so are all other pregnancy-related

  services—including prenatal care and APR. Cf. §1(1)(b). Yet Section 2 has no appli-

  cation to speakers who offer abortion but falsely advertise prenatal ultrasounds or lie

  about APR. Moreover, representations about radon mitigation are pure commercial

  speech—whereas Bella’s speech is targeted not because it is commercial but because

  it concerns a controversial social and political issue. The two are apples and oranges.

     Because Section 2 is anything but neutral, Plaintiffs have stated a Free Speech

  Clause claim.

     C. Plaintiffs have plausibly alleged a void-for-vagueness claim.

     A statute is unconstitutionally vague if it “fails to provide people of ordinary in-

  telligence a reasonable opportunity to understand what conduct it prohibits” or “au-

  thorizes or even encourages arbitrary and discriminatory enforcement.” Jordan v.

  Pugh, 425 F.3d 820, 824-25 (10th Cir. 2005). Courts consider, inter alia, “the enact-

  ment’s purpose” and “the interpretations of individuals charged with enforcement.”

  Id. at 825. In the First Amendment context, “[s]tricter standards of permissible stat-

  utory vagueness may be applied.” Hynes v. Mayor of Oradell, 425 U.S. 610, 620 (1976).

     Section 2 provides insufficient notice of what is prohibited. The AG says the term

  “indicates” has “a plain and ascertainable meaning,” AG.MTD.13—but refuses to say

  what that meaning is. Moreover, statutory terms “cannot be construed in a vacuum”

  and “must be read in their context.” Home Depot USA v. Jackson, 139 S.Ct. 1743,



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  1748 (2019). Section 2 offers no guidance for what “indicates” that an entity offers

  abortions or emergency contraceptives. Compl. ¶252. Indicates is a “classic term[] of

  degree” that “[i]n th[is] context … ha[s] no settled usage or tradition of interpretation

  in law.” Gentile v. State Bar of Nev., 501 U.S. 1030, 1048-49 (1991). Ordinary people

  don’t know whether advertising “comprehensive” or “full-service” OB-GYN care indi-

  cates offering abortion or emergency contraceptives. Compl. ¶254. Even the AG’s des-

  ignated witness could not answer that question. Tr.68:21-69:7.

     Moreover, even if Section 2 did provide adequate notice, it still permits arbitrary

  and discriminatory enforcement. SB 23-190’s “purpose”—which courts “often con-

  sider[]” in deciding vagueness questions, Jordan, 425 F.3d at 825—is to target “anti-

  abortion centers.” §1(1)(c)-(e). And sponsors claimed that “comprehensive” or “full-

  service” OB-GYN care includes abortion and contraceptives. Supra pp.4-5. Yet the

  AG has refused to provide an interpretation of Section 2 on this issue. See Tr.68-69;

  cf. Nat’l Fed. of the Blind of Ark., Inc. v. Pryor, 258 F.3d 851, 857 (8th Cir. 2001)

  (statute not vague where, in response to alleged ambiguities, AG offered “reasonable

  interpretation,” allaying concerns of arbitrary enforcement). Thus, the AG’s claim

  that Section 2 is “clear,” AG.MTD.15, ignores both Section 2’s purpose and the AG’s

  own failure to offer an interpretation of Section 2 or take a position on whether Bella’s

  specific statements violate the law.




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  III. The Attorney General is not immune under the Eleventh Amendment
       from Section 3 claims.

     Tellingly, the AG does not contend that he has sufficiently disavowed Section 3

  enforcement to defeat standing. Instead, he claims to be immune from Section 3 chal-

  lenges under the Eleventh Amendment. That argument fails.

     The Ex Parte Young exception to Eleventh Amendment immunity “permits suits

  for prospective injunctive relief against state officials acting in violation of federal

  law.” Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 828 (10th Cir. 2007).

  The exception applies “so long as the defendant officer has ‘some connection with the

  enforcement of the act.’” Chamber of Com. of U.S. v. Edmondson, 594 F.3d 742, 760

  (10th Cir. 2010).

     “Some” connection does not mean a “special connection”; the plaintiff need point

  only to (1) “a particular duty to ‘enforce’ the statute in question” and (2) “a demon-

  strated willingness to exercise that duty.” Wagnon, 476 F.3d at 828. Though “it is not

  necessary that the officer’s enforcement duties be noted in the act” to meet the “par-

  ticular duty” prong, Finstuen v. Crutcher, 496 F.3d 1139, 1151 (10th Cir. 2007), iden-

  tification of a specific statutory duty clearly suffices, Kitchen v. Herbert, 755 F.3d

  1193, 1202-03 (10th Cir. 2014). Past enforcement can show “demonstrated willing-

  ness.” Edmondson, 594 F.3d at 760.

     Both prongs are met here. As the AG concedes, AG.MTD.16, Colorado law provides

  that he “shall prosecute” charges referred to him by the Medical and Nursing Boards.

  C.R.S. §12-240-125(5)(b), (d); id. §12-255-119(3)(c)(V), (4)(d) (emphasis added). This


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  specific, mandatory duty more than satisfies the “particular duty” prong. See Ed-

  mondson, 594 F.3d at 758 (statutory duty to prepare draft contracts and “initiate or

  appear in any action in which the interests of the state or the people of the state are

  at issue” sufficient); Kitchen, 755 F.3d at 1202-03 (statutory authority to bring law-

  suit and “exercise supervisory powers over the district and county attorneys” suffi-

  cient). Nor can the AG seriously contest “demonstrated willingness,” since he has ex-

  ercised these prosecutorial duties in the past. See, e.g., Colo. State Bd. of Med.

  Exam’rs v. Boyle, 924 P.2d 1113, 1115 (Colo. App. 1996); Weber v. Colo. State Bd. of

  Nursing, 830 P.2d 1128 (Colo. App. 1992).

     Instead, the AG contends his duties amount to mere “client-service[s],” citing Ed-

  mundson. AG.MTD.16. But Edmondson says nothing of the sort. There, plaintiffs

  challenged two provisions of Oklahoma law. Their first challenge identified a statu-

  tory duty to enforce and a history of past enforcement, so the court found standing.

  Edmondson, 594 F.3d at 760. But their second challenge “[did] not cite to any Okla-

  homa law authorizing the Attorney General to enforce that provision,” so the court

  found standing lacking. Id. It was in this context that the court said—by way of a

  dictum parenthetical citation to an out-of-circuit case—that “a duty to prosecute all

  actions in which the state is interested” did not satisfy the test. Id. (quoting Shell Oil

  Co. v. Noel, 608 F.2d 208, 211 (1st Cir. 1979)). Here, Plaintiffs have identified specific

  statutory duties demonstrating the AG “may or must take enforcement actions

  against [Plaintiffs] if they violate the terms of” the Medical and Nurse Practice Acts.



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  Whole Woman’s Health v. Jackson, 142 S.Ct. 522, 535-36 (2021). The snippet from

  Edmundson is thus irrelevant.

     The AG’s only other argument is that if the Boards are ultimately prevented from

  enforcing the unconstitutional law, he won’t be able to enforce it either. AG.MTD.16.

  But the AG cites no case indicating that immunity depends on whether other parties

  are also involved in unconstitutional enforcement. That’s because it doesn’t. See Wag-

  non, 476 F.3d at 828 (three defendants involved in enforcement all lacked immunity);

  Kitchen, 755 F.3d at 1202-03 (governor and AG lacked immunity).

  IV. Plaintiffs have standing to sue the District Attorneys.

     DAs Kellner and McCann separately move to dismiss, arguing that Plaintiffs lack

  standing to sue them because their accompanying declarations “disavow[] any intent

  to enforce” SB 23-190. Kellner.MTD.5; see McCann.MTD.5. Although these disavow-

  als are more fulsome than the AG’s, they, too, fall short.

     As noted above, the credible-threat inquiry turns on three factors. Supra p.10.

  Here, there is no past enforcement of SB 23-190 because the law is brand new. But

  private parties may enforce the CCPA, and neither DA had disavowed enforcement

  “as of the time” this suit was filed. WildEarth, 690 F.3d at 1182. So the real question

  is not whether Plaintiffs had standing to sue the DAs in the first place—they did—

  but whether the DAs’ affidavits succeed in mooting the claims against them. They do

  not.




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     Relying on her “primary responsibility” to enforce criminal law, McCann avers

  that she has “no intent” to enforce SB 23-190 because it would not “be an appropriate

  use of public resources.” McCann.Decl.1-2. Kellner similarly points to his “primar[y]

  focus[]” on criminal prosecution and states that he “will not enforce [SB 23-190]

  against these Plaintiffs.” Kellner.Decl.1-2.

     These statements evince the DAs’ “discretionary present intention not to prose-

  cute.” United Food v. IBP, Inc., 857 F.2d 422, 429 (8th Cir. 1988). But nothing pre-

  vents them from changing their minds. To be sure, Kellner disavows enforcement

  pending resolution of this lawsuit. Kellner.Decl.2. But neither DA takes the posi-

  tion—much less the “unequivocal position”—that SB 23-190 “c[an]not be constitu-

  tionally applied” to Plaintiffs. Mink, 482 F.3d at 1256-57. And neither purports to

  bind himself and his successors. See Miller v. Bonta, __F.Supp.3d__, 2022 WL

  17363887, at *4 (S.D. Cal. Dec. 1, 2022) (collecting cases).

     It would be “a closer question” if the DAs committed not to enforce SB 23-190 and

  entered a consent judgment binding their offices not to prosecute Plaintiffs now or in

  the future. Id. at *5. But here, the DAs fail to carry their “formidable burden” to show

  mootness. Already, 568 U.S. at 91.

                                     CONCLUSION

     The Court should deny the motions to dismiss.




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     Dated: July 11, 2023               Respectfully submitted,


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                          CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing response complies with the type-volume limita-

  tion set forth in Judge Domenico’s Civil Practice Standard III.A.1, as modified by the

  Court’s order dated July 5, 2023. Dkt.70.

                                                   /s/ Mark L. Rienzi
                                                   Mark L. Rienzi




                             CERTIFICATE OF SERVICE

     I hereby certify that on July 11, 2023, I electronically filed the above response with

  the Clerk of Court via CM/ECF, which will provide electronic copies to counsel of

  record.

                                                   /s/ Mark L. Rienzi
                                                   Mark L. Rienzi




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